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lN THE UN!TED STATES DISTRlCT COUR'I`
FOR THE EASTERN DISTR!CT OF VlRGINIA
Alexandria Division

UNl'I`I-.`.D STATES OF AMERICA, )
)
v. )
) Criminal No. l:lS-CR-83
PAUL J. MANAFoRT, m, )
Defendant. )
ORDER

 

The matter is before the Court on the government’s Unopposed Motion for a Protective
Order Governing Discovcry pursuant to Rulc lé(d), ch. R. Cn`m. P. (Doc. 29). For the reasons
that follow. the motion, at this time, must be dcnied.

To begin with. the motion is insufficiently speciiic in describing the information to be
subject to the requested protective order, which is, in thc circumstances. excessively broad. To
be sure_. there may be good reason to apply a protective order to certain specific information in
this case, but that information has not been adequately identified or described. lnstead, thc
protective order simply refers vaguely to "‘other confidential materials” that need to be shielded
from disclosure In sum, the request is too anemia in the reasons proffered to support the
issuance of a protective order and inadequately specific about what precisely needs to be subject
to the order. The current proposed protective order throws an unnecessarily broad cloak of
secrecy over documents and information to be disclosed in discovery. And this is so especially
given that the indictment in this case charges defendant with engaging in conspiracies that began
as long ago as 2005 and ended in 2014. In circumstances where a conspiracy began and ended
several years ago, there is no need to throw such a broad cloak of secrecy over the materials to be

provided in discovery.

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Although the reasons in support of the government`s request are currently inadequate,
and the proposed order apparently excessively broad, this Onder does not foreclose the
government seeking a more narrowly tailored and sharply focused protective order provided it is
supported by good reasonsl If necessary, a closed hearing may be scheduled to consider such a
motion. in the meantime, counsel for the parties should proceed with alacrity to complete
diseovery, inasmuch as a trial date has been set and absent extraordinary circumstances that trial
date will not be continued.

Accordingly, for the reasons stated above, and for good cause shown,

lt is hereby ORDERED that the govemmcnt’s motion seeking a protective order is
DENlED (Doc. 29).

Thc Clerk is directed to send a copy of this Order to all counsel of record.

Ai¢xanaria virginia
Mmh 27, 2013

    

T. S. Ellis, IH
United States Distri Judge

 

' Althougb the district court in the District ofCo|umbia has apparently issued such an order, that order does not
govern this case in this Court.

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